    Case 6:21-cv-00346-ADA     Document 116   Filed 04/21/22   Page 1 of 25

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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            WACO DIVISION


RED ROCK ANALYTICS, LLC,

                      Plaintiff,              Civil Action No. 6:21-cv-00346-ADA

     v.

APPLE INC., QUALCOMM, INC.,                   JURY TRIAL DEMANDED

                      Defendants.


    RED ROCK’S SUR-REPLY IN OPPOSITION TO DEFENDANTS’ MOTION
              TO TRANSFER VENUE UNDER 28 U.S.C. § 1404(a)




                                       i
       Case 6:21-cv-00346-ADA                  Document 116             Filed 04/21/22          Page 2 of 25

                             CONFIDENTIAL – ATTORNEYS’ EYES ONLY


                                             TABLE OF CONTENTS


I.      The Court Should Deny Defendants’ Motion to Exclude Expert Testimony ......................1

II.     The Court Congestion Factor Strongly Disfavors Transfer .................................................4

III.    The Cost of Attendance for Willing Witnesses Disfavors Transfer ....................................5

IV.     The Availability of Compulsory Process to Secure Witnesses Disfavors Transfer...........11

V.      The Relative Ease of Access to Sources of Proof Disfavors Transfer ...............................14

VI.     The Local Interest Factor Disfavors Transfer ....................................................................15




                                                              i
         Case 6:21-cv-00346-ADA                           Document 116                  Filed 04/21/22                Page 3 of 25

                                    CONFIDENTIAL – ATTORNEYS’ EYES ONLY


                                                      TABLE OF AUTHORITIES


Cases
Dataquill, Ltd. v. Apple Inc.,
      2014 U.S. Dist. LEXIS 82410, 2014 WL 2722201 ...........................................................13

In re Google LLC,
       2021 U.S. App. LEXIS 29137 (Fed. Cir. Sep. 27, 2021) ..................................................11

In re Google LLC,
       2021 U.S. App. LEXIS 33789 (Fed. Cir. Nov. 15, 2021)..................................................15

In re HP Inc.,
       826 F. App’x 899 ...............................................................................................................14

In re Genentech, Inc.,
       566 F.3d 1338 (Fed. Cir. 2009)......................................................................................6, 10

In re Juniper Networks, Inc.,
        2021 U.S. App. LEXIS 29036 (Fed. Cir. Sep. 24, 2021)
        ............................................................................................................................................10

In re Juniper Networks, Inc.,
        14 F.4th 1313, 1319 (Fed. Cir. 2021) ................................................................................10

Lightfoot v. MXEnergy Elec., Inc.,
       690 F.3d 352 (5th Cir. 2012) ...............................................................................................2

Monterey Research, LLC v. Broadcom Corp.,
      2022 U.S. Dist. LEXIS 30366,
      2022 WL 526242 (W.D. Tex. Feb. 21, 2022) ................................................1, 9, 10, 11, 19

Quanta Comput., Inc. v. LG Elecs., Inc.,
      553 U.S. 617 (2008) ...........................................................................................................13

Weatherford Tech. Holdings v. Tesco Corp.,
      2018 U.S. Dist. LEXIS 231592 (E.D. Tex. May 22, 2018) .................................................2

Rules
Fed. R. Evid. 702 .........................................................................................................................2, 3

Fed. R. Evid. 704 .............................................................................................................................2

NDCA Patent L.R. 3-8 .....................................................................................................................4




                                                                            ii
       Case 6:21-cv-00346-ADA       Document 116       Filed 04/21/22     Page 4 of 25

                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY


                                    TABLE OF EXHIBITS

                                   Opposition Brief Exhibits
EX. NO.                                      DESCRIPTION
                                           DEPOSITIONS
  1       Deposition transcript of Rajiv Vijavan, taken on November 17, 2021 (Attorney’s Eyes
          Only, highlighting added)
  2       Deposition transcript of Mark Rollins, taken on November 19, 2021 (Attorney’s Eyes
          Only, highlighting added)
  3       Deposition transcript of Seydou Ba, taken on November 30, 2021 (Attorney’s Eyes Only,
          highlighting added)
  4       Deposition transcript of Kai Oeffner, taken on November 30, 2021 (Attorney’s Eyes
          Only, highlighting added)
  5       Deposition transcript of Dinkar Piratla, taken on December 8, 2021 (Attorney’s Eyes
          Only, highlighting added)
  6       Deposition transcript of Tricia Dugan, taken on December 9, 2021 (Attorney’s Eyes
          Only, highlighting added)
  7       Deposition transcript of Anthony Simon, taken on December 15, 2021 (Attorney’s Eyes
          Only, highlighting added)
  8       Deposition transcript of John Cafarella, taken on December 17, 2021 (highlighting
          added)
                                   INTERROGATORY RESPONSES
  9       Defendant Apple’s Objections and Responses to Red Rock’s Interrogatories Nos. 1-5
          Regarding Defendants’ Motion to Transfer, dated October 4, 2021 (Outside Attorneys
          Eyes Only)
  10      Defendant Qualcomm, Inc.’s Responses and Objections to Red Rock’s Interrogatories
          Nos. 1-5 Regarding Defendants’ Motion to Transfer, dated October 4, 2021
  11      Defendant Apple’s First Supplemental and Amended Objections and Responses to Red
          Rock’s Interrogatories Nos. 1-2 and 4 Regarding Defendants’ Motion to Transfer, dated
          October 27, 2021 (Outside Attorneys Eyes Only)
  12      Qualcomm Inc.’s First Supplemental Responses and Objections to Plaintiff Red Rock’s
          Interrogatories to Qualcomm Nos. 1-2 Regarding Defendants’ Motion to Transfer, dated
          November 1, 2021 (Attorneys’ Eyes Only)
  13      Qualcomm Inc.’s First Supplemental Responses and Objections to Plaintiff Red Rock’s
          Interrogatories to Qualcomm Nos. 3-4 Regarding Defendants’ Motion to Transfer and
          Appendix A, dated November 11, 2021 (Attorneys’ Eyes Only)
  14      Defendant Apple’s Second Supplemental and Amended Objections and Responses to
          Red Rock’s Interrogatory No. 4 Regarding Defendants’ Motion to Transfer, dated
          November 11, 2021 (Outside Attorneys Eyes Only)
  15      Qualcomm Inc.’s Second Supplemental Responses and Objections to Plaintiff Red
          Rock’s Interrogatories to Qualcomm No. 3 Regarding Defendants’ Motion to Transfer,
          dated November 12, 2021 (Attorneys’ Eyes Only)
  16      Qualcomm Inc.’s Third Supplemental Responses and Objections to Plaintiff Red Rock’s
          Interrogatories to Qualcomm No. 3 Regarding Defendant’s Motion to Transfer and
          Appendices A-B, dated December 3, 2021 (Attorneys’ Eyes Only)


                                               iii
       Case 6:21-cv-00346-ADA       Document 116      Filed 04/21/22     Page 5 of 25

                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY


EX. NO.                                      DESCRIPTION
  17      Qualcomm Inc.’s Second Supplemental Responses and Objections to Plaintiff Red
          Rock’s Interrogatories to Qualcomm No. 4 Regarding Defendants’ Motion to Transfer,
          dated December 15, 2021 (Attorneys’ Eyes Only)
  18      Qualcomm Incorporated’s First Supplemental Responses and Objections to Plaintiff Red
          Rock’s Interrogatories to Qualcomm No. 2 Regarding Defendants’ Motion to Transfer,
          dated December 20, 2021 (Attorneys’ Eyes Only)
  19      Qualcomm Incorporated’s Fourth Supplemental Responses and Objections to Plaintiff
          Red Rock’s Interrogatories to Qualcomm No. 3 Regarding Defendants’ Motion to
          Transfer, dated December 20, 2021 (Attorneys’ Eyes Only)
  20      Qualcomm Incorporated’s Fifth Supplemental Responses and Objections to Plaintiff Red
          Rock’s Interrogatories to Qualcomm No. 3 Regarding Defendants’ Motion to Transfer
          and Amended Appendix B and Appendices C-D, dated December 22, 2021 (Attorneys’
          Eyes Only)
                            REQUESTS FOR PRODUCTION RESPONSES
  21      Defendant Apple’s Objections and Response to Red Rock’s Requests for Production
          Nos. 1-10 Regarding Defendants’ Motion to Transfer, dated October 4, 2021
  22      Qualcomm, Inc.’s Responses and Objections to Plaintiff Red Rock’s Requests for
          Production Nos. 1-10 to Qualcomm Regarding Defendants’ Motion to Transfer, dated
          October 4, 2021
                                  DEFENDANTS’ DECLARATIONS
  23      Second Declaration of Mark Rollins, executed December 14, 2021
  24      Second Declaration of Anthony Simon in Support of Defendant Qualcomm
          Incorporated’s Motion to Transfer Venue to the Northern District of California and
          Exhibit A, executed December 17, 2021 (Attorneys’ Eyes Only)
  25      Third Declaration of Anthony Simon in Support of Defendant Qualcomm Incorporated’s
          Motion to Transfer Venue to the Northern District of California, executed January 5,
          2021 (Attorneys’ Eyes Only)
                                        LINKEDIN PAGES
  26      Apple - Amy Mahan
  27      Apple – Angelika Schneider
  28      Apple – Anuj Dharia
  29      Apple – David Standefer
  30      Apple – Fikret Dulger
  31      Apple – Glen Lochte
  32      Apple – Howard Konetzke III
  33      Apple – Jason Durnin
  34      Apple – Jason Wakefield
  35      Apple – John Marcincavage
  36      Apple – Kai Oeffner, CMA
  37      Apple – Lai Jin
  38      Apple – Marcelo Ponce
  39      Apple – Mary Anna Baldino
  40      Apple – Nida Saiyed
  41      Apple – Paul Fontaine


                                               iv
       Case 6:21-cv-00346-ADA      Document 116      Filed 04/21/22    Page 6 of 25

                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY


EX. NO.                                     DESCRIPTION
  42      Apple – Paul Salas
  43      Apple – Scott Foster
  44      Apple – Seydou Ba
  45      Qualcomm – Abdellatif Bellaouar
  46      Qualcomm – Dinkar Piratla
  47      Qualcomm – Ken Noblitt
  48      Qualcomm –Matt Severson
  49      Qualcomm – Sherif Embabi
  50      Qualcomm – Teja Renukaradhya
  51      Qualcomm – Tim Short
  52      Qualcomm – Tom Leach
  53      Qualcomm – Tricia Dugan
                                     TECHNICAL DOCUMENTS
  54      U.S Patent No. 10,326,420 to Bellaouar et al.
  55      U.S Patent No. 10,944,437 to Bellaouar et al.
  56      S.T. Lee et al., A 1.5V 28mA Fully-Integrated Fast-Locking Quad-Band GSM-GPRS
          Transmitter with Digital Auto-Calibration in 130nm CMOS, 2004
  57      U.S. Patent No. 7,376,400 to Bellaouar et al.
  58      Oliver Werther et al., A Fully Integrated 14 Band, 3.1 to 10.6 GHz 0.13 um SiGe
          BiCMOS UWB RF Transceiver, December 2008
  59      Sher Jiun Fang et al., A 28GHz Sliding-IF Receiver in 22nm FDSOI, downloaded May
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  60      Bertan Bakkaloglu et al., A 1.5-V Multi-Mode Quad-Band RF Receiver for
          GSM/EDGE/CDMA2K in 90-nm Digital CMOS Process, May 2006
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          March 2003
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          Presented to The Academic Faculty by Seydou Nourou Ba, December 2009
  63      U.S. Patent No. 8,150,335 to Waheed et al.
  64      Khurram Waheed et al., Adaptive Digital Linearization of a DRP based EDGE
          Transmitter for Cellular Handsets, 2007
  65      Sher Jiun Fang et al., A 90nm CMOS Receiver Front-End for GSM/GPRS/EDGE, 2006
                                        OTHER EXHIBITS
  66      Memorandum Order, Red Rock Analytics, LLC v. Samsung Electronics Co., Ltd. et al.,
          Case No. 2:17-cv-00101-RWS-RSP, Dkt. No. 219, February 6, 2019
  67      Red Rock’s Preliminary Infringement Contentions, Red Rock Analytics, LLC v. Apple
          Inc., Qualcomm, Inc.; Case No. 6:21-cv-00346-ADA, served July 1, 2021
  68      First Amended Exhibit A to Red Rock’s Preliminary Infringement Contentions, Red
          Rock Analytics, LLC v. Apple Inc., Qualcomm, Inc.; Case No. 6:21-cv-00346-ADA,
          served October 4, 2021
  69      First Amended Exhibit B to Red Rock’s Preliminary Infringement Contentions, Red
          Rock Analytics, LLC v. Apple Inc., Qualcomm, Inc.; Case No. 6:21-cv-00346-ADA,
          served October 4, 2021



                                              v
       Case 6:21-cv-00346-ADA       Document 116      Filed 04/21/22     Page 7 of 25

                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY


EX. NO.                                      DESCRIPTION
  70      Exhibit C to Red Rock’s Preliminary Infringement Contentions, Red Rock Analytics,
          LLC v. Apple Inc., Qualcomm, Inc.; Case No. 6:21-cv-00346-ADA, served July 1, 2021
  71      Exhibit D to Red Rock’s Preliminary Infringement Contentions, Red Rock Analytics,
          LLC v. Apple Inc., Qualcomm, Inc.; Case No. 6:21-cv-00346-ADA, served July 1, 2021
  72      Transcript of Discovery Hearing held before the Honorable Alan D. Albright, Red Rock
          Analytics, LLC v. Apple Inc., Qualcomm, Inc.; Case No. 6:21-cv-00346-ADA,
          November 18, 2021
  73      Spreadsheet produced by Qualcomm, Bates numbered QCRRAMTT346_00000022
          (Attorneys’ Eyes Only)
  74      Spreadsheet produced by Apple, Bates numbered APL-RR-II_00000806 (Attorneys’
          Eyes Only)
  75      Document titled “                                              ” produced by Apple,
          Bates numbered APL-RR_II_00000255 (Attorneys’ Eyes Only)
  76      Email string involving Regan Rundio [law clerk to the Hon. Alan D. Albright] and
          counsel for Red Rock, Apple and Qualcomm regarding a discovery dispute, dated
          between November 18 and December 8, 2021
  77      Tweet from the verified account of Juho Sarvikas, Qualcomm’s President of North
          America, dated May 17, 2021


                                   Sur-Reply Brief Exhibits


EX. NO.                                      DESCRIPTION
  78      Expert Report of Dr. Christopher R. Jones, Red Rock Analytics, LLC v. Samsung
          Electronics Co. Ltd., et al., No. 2:17-cv-00101-RWS-RSP, dated September 14, 2018,
          Bates numbered RRA-APP-QCM-00021447-638
  79      “RF Wafer Test and Measurements basics” from RF Wireless World
  80      “Samsung needs room for next generation chip” by Tom Fowler, Austin Business
          Journal, published June 27, 1999
  81      LinkedIn Profile of Seung Ju. H. with Samsung
  82      “Product Engineer - Austin, TX 78754” from Indeed.com
  83      Job listing for “Test Technology Operation Engineer Technician–1 - Austin, TX
          78754” from Indeed.com
  84      “Test System Optimized for High-Performance Digital and SoC” from Teradyne
  85      “V93000 Port Scale RF User Training” from Advantest Corporation
  86      “The Fundamental RF Test” from Advantest Corporation
  87      Deposition Transcript of Ron Murias, taken on February 10, 2022 (Highly Confidential
          – Attorneys’ Eyes Only)
  88      Fall 2017 issue of New York Dispute Resolution Lawyer, Volume 10, No. 2
  89      “The Economic Impact of Budget Cutbacks: A Judicial Trilogy” by Micronomics, ERS
          Group, and SourceHOV




                                               vi
       Case 6:21-cv-00346-ADA       Document 116       Filed 04/21/22     Page 8 of 25

                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY


EX. NO.                                      DESCRIPTION
  90      “Efficiency and Economic Benefits of Dispute Resolution through Arbitration
          Compared with U.S. District Court Proceedings” by Roy Weinstein, Cullen Edes, Joe
          Hale, and Nels Pearsall, March 2017
  91      Time to trial statistics, downloaded from Docket Navigator on March 31, 2022, for the
          Northern District of California and the Western District of Texas
  92      Deposition Transcript of Roy Weinstein, taken on February 17, 2022 (Highly
          Confidential – Attorneys’ Eyes Only)
  93      Expert Report of Roy Weinstein, Red Rock Analytics, LLC v. Samsung Electronics Co.
          Ltd., et al., No. 2:17-cv-00101-RWS-RSP, dated September 14, 2018, Bates numbered
          RRA-APP-QCM-00021217-406 (Highly Confidential – Attorneys’ Eyes Only)
  94      Subpoena Duces Tecum that Red Rock will serve on Samsung Austin Semiconductor,
          LLC when fact discovery opens




                                               vii
        Case 6:21-cv-00346-ADA         Document 116        Filed 04/21/22      Page 9 of 25

                        CONFIDENTIAL – ATTORNEYS’ EYES ONLY


   Apple, Qualcomm, and          have nearly twenty thousand employees in Texas, and Red Rock

has accused Defendants’ flagship products of infringement. Yet Defendants ask the Court to accept

an absurd claim—that not even one of these employees is relevant. The absurdity results from their

violation of the Court’s guidance in Monterey: “Realistically, the opening inquiry should be ‘where

are the relevant witnesses located?’; not ‘are there relevant witnesses located in California?’” The

absurdity is exacerbated by Defendants’ gerrymandered definition of relevance, limited to the

“smallest team” or “smallest group unit” that works on “algorithms and techniques” for I-Q

calibration. Opp., 2-3. They used this definition to exclude relevant hardware and non-technical

witnesses in Texas who do not specifically work on “algorithms and techniques.” Id. Defendants

claim their investigation included “software and hardware,” but contradict themselves by

repeatedly arguing the “hardware-related limitations are generically recited and simply facilitate

the alleged I-Q gain calibration.” Reply, 11 n.4, 13, 30-31. Defendants’ declarants confirmed they

did not investigate their Texas hardware operations. Ex. 1, 24:21-25




                                                                             ; Ex. 2, 89:9-15 (“Q.

Would there be engineers in the Hardware org in Austin who are knowledgeable about the benefits

of I-Q calibration? A. I am not aware either way.”), 101:4-6 (“I’m not aware whether there are or

are not any engineers in the Hardware Group at Austin that work on I-Q calibration.”) (all

emphasis added throughout). Red Rock and its experts filled the Texas-shaped black hole in

Defendants’ investigation with evidence and analysis proving WDTX is the true center of gravity.

   I.      The Court Should Deny Defendants’ Motion to Exclude Expert Testimony

   Defendants improperly ask the Court to “give no weight to (and otherwise exclude)” Red




                                                   1
      Case 6:21-cv-00346-ADA             Document 116          Filed 04/21/22       Page 10 of 25

                          CONFIDENTIAL – ATTORNEYS’ EYES ONLY


Rock’s experts under Fed. R. Evid. 702 and 704. Reply, 2. 1 Rule 704 does not apply because

neither expert opines on the ultimate outcome of any factor, nor states any “ultimate conclusion.”

And Rule 702’s “gatekeeping” role does not apply when the Court sits as factfinder. Lightfoot v.

MXEnergy Elec., Inc., 690 F.3d 352, 357-58 (5th Cir. 2012) (Daubert safeguards “are not as

essential. . . where a judge sits as the trier of fact in place of a jury.”).

    Moreover, Defendants’ criticisms are not challenges to qualifications and methodology, they

are disagreements with opinions. They accuse Red Rock’s witnesses of being “mere mouthpieces

for attorney argument,” but they point to well-reasoned analysis in the declarations and call it

“argument” because they do not agree. Reply, 7. This goes to weight, not admissibility; the Court

can weigh an expert’s credibility the same way it weighs any other witness’ credibility.

    Defendants claim Mr. Weinstein is not “qualified to opine on the Volkswagen factors” because

he is not a lawyer, and does not have inside knowledge of how Defendants’ “departments, groups,

and teams” operate. Reply, 2-3. But Red Rock does not offer Mr. Weinstein as a legal expert.

Defendants concede “Weinstein is an economist and statistician” and an expert on patent damages.

Id., 3. As such, he is qualified to explain why certain witnesses, teams, and documents are relevant

to damages, the estimated travel costs, and the opportunity costs of trial delays. Defendants’

arguments regarding Mr. Murias are similarly misguided: he does not need expertise regarding the

“organization structure within Qualcomm, Apple,                       ” (id., 3-4) to offer opinions on the

relevance of technical witnesses and teams. Defendants do not dispute Mr. Murias’s core

qualifications as a wireless transceiver expert.

    Defendants also argue Red Rock’s experts’ opinions “should be disregarded because they are



1
  There is no history of Rule 702 “exclusion” of expert opinion in a motion to transfer. “Striking”
is reserved for declarations that are “so lacking in credibility that striking” is required. Weatherford
Tech. Holdings v. Tesco Corp., 2018 U.S. Dist. LEXIS 231592, at *7 (E.D. Tex. May 22, 2018).


                                                       2
     Case 6:21-cv-00346-ADA          Document 116        Filed 04/21/22     Page 11 of 25

                        CONFIDENTIAL – ATTORNEYS’ EYES ONLY


contrary to unrebutted [] evidence[,]” but later amend this to “disregarding contrary evidence.”

Reply, 4. Take for example Defendants’ accusation that Red Rock’s experts “identify [as

relevant]…employees who are confirmed—via sworn declaration and deposition testimony…to

have no knowledge relevant to the accused technology.” Id. Many of the paragraphs cited by

Defendants as the “unrebutted” or “contrary” evidence contain the very evidence supporting the

experts’ opinions. For example, Defendants say




       The experts analyzed all the record evidence, including Defendants’ allegedly

“contradictory” evidence. Weinstein ¶¶52-79, 81-82; Murias ¶¶33-137.

   Defendants further argue the experts’ opinions should be “disregarded” as “not based on

reliable principles and methods” and “improper ipse dixit.” Reply, 5. Both experts explain their

methodology and supporting evidence. Mr. Weinstein explains he selected witnesses who have

information or experience relevant to damages, even identifying the relevant Georgia-Pacific

factors for each witness based on their job titles, LinkedIn pages, deposition testimony, and

Defendants’ discovery production. Weinstein ¶¶52-79, 81-82. Similarly, Mr. Murias selected

witnesses with technical knowledge of infringement and technology value based on their job titles,

LinkedIn pages, published work, patents, deposition testimony, and discovery. Murias ¶¶33-137.

Defendants also criticize the experts for drawing from “personal knowledge and experiences”

Reply, 5–6. But Rule 702 explicitly permits an expert to use their “knowledge” and “experience.”

   Regarding Mr. Weinstein, Defendants wrongly label his damages estimate an “inadmissible

rule of thumb,” applying the standard for a final damages model following full discovery. Reply,




                                                  3
      Case 6:21-cv-00346-ADA           Document 116         Filed 04/21/22       Page 12 of 25

                         CONFIDENTIAL – ATTORNEYS’ EYES ONLY


7. Red Rock must ultimately prove damages at trial, but here Defendants bear the burden of

proving NDCA is “clearly more convenient.” Mr. Weinstein provided a “conservative” estimate

of damages based on available evidence. Estimating damages is not “speculative” or improper;

NDCA even requires parties to submit an early damages estimate. NDCA PLR 3-8. Mr.

Weinstein’s calculation provides a reliable way to estimate the cost of delay, and Defendants have

offered no contrary evidence. Regarding the opportunity cost calculation, Defendants must

fundamentally misunderstand the concept of opportunity cost, as they criticize Mr. Weinstein for

not relying on Red Rock’s investment strategy. Id. As Mr. Weinstein himself explained, an

opportunity cost is a loss to all parties and to society, not a loss specific to Red Rock. See infra, 5.

Mr. Weinstein has previously used the same reliable methodology to calculate the opportunity cost

of trial delays in a published paper, a report for the Los Angeles Superior Court System, and a

report for the American Arbitration Association. Ex. 92, 137:3-138:21; Ex. 88; Ex. 89; Ex. 90.

    II.     The Court Congestion Factor Strongly Disfavors Transfer

    Red Rock’s data shows WDTX is 7+ months faster to trial than NDCA, and Defendants’ own

data shows WDTX is 11–15 months faster. Opp., 14; Reply, 36 (Defendants “agree” the difference

is “6-8 months”). Defendants cite a case for the proposition the two venues are “comparable,” but

time to trial is a question of fact, not precedent. Defendants claim NDCA “can handle a much

higher volume of trials,” but this is contradicted by the evidence: in patent cases filed since 2018,

NDCA has held 3 jury trials and WDTX has held 11. Reply, 36; Ex. 91. The facts are undisputed:

this Court is at least “6-8 months” faster than NDCA. Defendants also have no evidence this delay

is “not significant.” Reply, 36. In contrast, Mr. Weinstein shows the cost of this delay exceeds $4

million, which dwarfs the costs of all other convenience factors combined. Weinstein ¶102.

    Defendants refer to Mr. Weinstein’s published and judicially approved methodology as




                                                     4
     Case 6:21-cv-00346-ADA             Document 116         Filed 04/21/22      Page 13 of 25

                          CONFIDENTIAL – ATTORNEYS’ EYES ONLY


“speculation.” Reply, 36. Defendants do not seem to understand Mr. Weinstein’s methodology.

They claim he calculated “alleged losses to RRA as a result of the delay.” Id. That is not correct.

Mr. Weinstein calculated “lost resources attributable to delay between the NDCA and the WDTX

Waco Division, which represents value unavailable to litigants.” Weinstein ¶99. He explained

opportunity cost is a “deadweight loss” caused by resources being tied up in delay:

          Q When you talk about opportunity costs, who pays that cost?
          A Well, society bears the burden of those costs. It’s the parties themselves that
          have to … respond in ways that are consistent with the FASB [Financial
          Accounting Standards Board] 5 requirement, namely to accrue for contingent
          liabilities where the outcome is uncertain. … So an opportunity cost is a loss that's
          experienced both by the parties and by the community at large. … it’s what an
          economist like myself would refer to as a deadweight loss. There’s no benefit to
          society from delaying the adjudication of disputes between parties for seven
          months, give or take. That creates an opportunity cost for the parties, which in turn
          resonates beyond the parties themselves.

Ex. 92, 244:7-24, 245:17-23.

   Defendants also argue the “AIPLA surveyed fees based on the ‘location of survey respondent,’

not the court in which a given case was pending.” Reply, 37. The data reflects “Total Costs:

Litigation–Patent Infringement, All Varieties by Location.” Regardless of how one interprets the

AIPLA survey, the point is the same: the delays in NDCA (where San Francisco “respondents”

litigate) create massive additional costs. Weinstein ¶107.

   III.      The Cost of Attendance for Willing Witnesses Disfavors Transfer

   Red Rock has shown twenty-eight relevant witnesses are in Texas (Tom Leach, the twenty-

ninth witness, recently modified his LinkedIn profile indicating he is no longer at Qualcomm).

Red Rock’s witnesses are backed up by admissible evidence and expert analysis. Defendants claim

the Texas witnesses identified by Red Rock lack “broad knowledge” and imply a witness must be

knowledgeable about every conceivable topic, e.g., arguing sales witnesses lack “knowledge of

the accused technology.” Reply, 12, 23, 24. This is an improper standard. Red Rock need only



                                                     5
     Case 6:21-cv-00346-ADA          Document 116        Filed 04/21/22      Page 14 of 25

                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY


show “the relevance and materiality of the information the witness may provide.” In re Genentech,

Inc., 566 F.3d 1338, 1343 (Fed. Cir. 2009). Nor is it a standard that Defendants’ California

witnesses can meet. Mr. Rollins testified



    Similarly, Qualcomm’s declarants testified




   Mr. Weinstein relies on the testimony of Apple’s own witnesses to show the

           and                     teams in Austin are relevant, with responsibilities including



                                                                                       The Reply

has no rebuttal, nor do Mr. Rollins’ declarations even mention these teams. Dkt. 45-17; Ex. 23.

   Regarding Apple’s                    team in Austin, Defendants cite

                                                                          But Mr. Rollins testified




                                                          Nor have Defendants disputed




   Apple downplays their fourteen non-technical witnesses, arguing they have “limited …

knowledge,” but ultimately fails to rebut their relevance. Reply, 21-22; Weinstein ¶¶58-71. Apple




                                                 6
     Case 6:21-cv-00346-ADA           Document 116        Filed 04/21/22     Page 15 of 25

                        CONFIDENTIAL – ATTORNEYS’ EYES ONLY


concedes



Apple concedes

                                                      thereby conceding Mr. Weinstein’s opinions

about                    Weinstein ¶64. Similarly,




                                                                   But Apple has not shown




   Apple concedes Seydou Ba wrote his dissertation on I-Q calibration and its impact on EVM

and invented several I-Q calibration patents. Reply, 20; Opp., 10. Apple argues

                                                       but cannot dispute it is relevant. Red Rock

stipulates it will call Dr. Ba at trial; he will provide powerful admissions about




   But Mr. Murias testified:

                                                                                              No




                                                  7
     Case 6:21-cv-00346-ADA         Document 116        Filed 04/21/22     Page 16 of 25

                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY


Apple witness

                                                                            Opp., 10.

   Apple fails to rebut Red Rock’s evidence that its other four technical witnesses in Texas have

“knowledge relevant to infringement and the value of the patented features.” Opp., 10-11; Murias

¶¶66-82. Apple concedes these witnesses




   Qualcomm does not rebut Red Rock’s evidence for



Rather, Qualcomm argues

             Reply, 12. But these are non-technical witnesses, and Qualcomm has not shown its

non-technical NDCA witnesses have knowledge of the accused technology;



   Qualcomm dismisses its

                                                             This is an example of Defendants’

gerrymandered relevance definition excluding




                                                 8
     Case 6:21-cv-00346-ADA            Document 116        Filed 04/21/22      Page 17 of 25

                         CONFIDENTIAL – ATTORNEYS’ EYES ONLY


                                                          Mr. Murias testified




   Qualcomm asserts




                                                                            Qualcomm cannot carry

its burden by redefining words. Monterey, *22 (“it is telling that [the movant’s declarant] did little

to no research himself, but then added mitigating phrases”).




                                                    9
     Case 6:21-cv-00346-ADA            Document 116        Filed 04/21/22      Page 18 of 25

                         CONFIDENTIAL – ATTORNEYS’ EYES ONLY




   Defendants argue Mr. Murias did not cite witness testimony in the Samsung case, but he did

not submit a report. Dr. Jones’s report cited five witnesses and Mr. Weinstein’s cited six. Ex. 78;

Ex. 93. Defendants, therefore, improperly assume few technical witnesses will testify. Genentech,

566 F.3d at 1343; In re Juniper Networks, Inc., 2021 U.S. App. LEXIS 29036, *11 (Fed. Cir. Sep.

24, 2021) (rejecting the “assumption that [parties] are likely to call few” identified witnesses).

   Qualcomm has no evidence that the “six NDCA and six SDCA authors” of “papers and

patents” cited in contentions are relevant. Reply, 11-12. The mere fact that a name appears on a

document is not sufficient, by itself, to show a witness is relevant. In re Juniper Networks, Inc., 14

F.4th 1313, 1319 (Fed. Cir. 2021) (“publications and titles alone do not show that these witnesses

have information”); Monterey, *29 (“A name on an org-chart is rather meaningless for analysis of

a transfer for purposes of venue when nothing more is given.”).

   Dr. Cafarella and Mr. Fischer testified WDTX is more convenient. Opp., 13. Mr. Weinstein

showed it is less expensive for them to attend trial in WDTX. Weinstein ¶¶49-50. Defendants do

not rebut this evidence. They try to argue a few hours’ travel time is “significant” for SDCA

witnesses, but they also acknowledge Dr. Cafarella’s travel time is “comparable” because the

difference is only a few hours. Reply, 25-26. A few hours of travel has a minimal impact where

witnesses “will be required to travel a significant distance no matter where they testify and …




                                                   10
     Case 6:21-cv-00346-ADA          Document 116        Filed 04/21/22     Page 19 of 25

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leave home.” In re Google LLC, 2021 U.S. App. LEXIS 29137, *11 (Fed. Cir. Sep. 27, 2021); see

also Monterey, *37 (“any witness beyond 100-miles of the WDTX … suffers the same

inconvenience regardless.”). The unrebutted evidence shows NDCA is much more costly for Dr.

Cafarella, and NDCA is slightly more costly for Mr. Fischer.

   Defendants criticize Mr. Weinstein for not considering “time costs,” but contradict this by

acknowledging a few hours’ additional travel time is insignificant. Reply, 25-26. Defendants cite

Google as holding “time away from home” is an important consideration,” but small differences

in travel time do not meaningfully impact total “time away from home” for SDCA witnesses, who

must stay in a hotel either way. Id., 26. Defendants also criticize Mr. Weinstein for petty things

like not including airport hotels in his calculations, yet they do not explain why he should have

included them or how this would change the result. Id. Despite bearing the burden of proof,

Defendants have not presented any evidence on the cost of trial attendance for any witness. They

have no flight, lodging, or transportation cost evidence at all. In contrast, Mr. Weinstein proves

WDTX is more convenient and less costly for willing witnesses. Weinstein ¶¶80, 85-92.

   IV.     The Availability of Compulsory Process to Secure Witnesses Disfavors Transfer

   Red Rock has attached the subpoena it will serve on SAS when discovery opens. Ex. 94.




                                                 11
Case 6:21-cv-00346-ADA   Document 116   Filed 04/21/22   Page 20 of 25

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                                 12
     Case 6:21-cv-00346-ADA           Document 116        Filed 04/21/22     Page 21 of 25

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   Defendants cite Dataquill, but that case was radically different. The technology in Dataquill

was software, Apple’s “App Store, iTunes, and iBooks software programs.” Dataquill, 2014 U.S.

Dist. LEXIS 82410, *3. This case is about wireless chips, the claims recite hardware components,



   Defendants argue “Mohindra references are cited on the face of the patent,” and “RRA cited

[Zhang’s] publications in its infringement contentions” but do not explain how they are relevant

witnesses. Reply, 27. Defendants are correct that the Court must “engage in a case-by-case analysis

based on specific facts in the record” rather than assume prior art authors are relevant. Id. The

mere fact that someone’s name appears on a cited document, standing alone, is not sufficient. See

supra at 10-11. Defendants have failed to show these cherry-picked authors are relevant witnesses.

   Defendants further argue “[c]ompulsory process can secure the attendance of two potential

witnesses identified by Defendants in NDCA, but only one potential witness RRA identifies in

WDTX.” Reply, 31-32.

                                         SAS has approximately 10,000 employees in Austin.

Weinstein ¶114.




                                                  13
     Case 6:21-cv-00346-ADA           Document 116        Filed 04/21/22     Page 22 of 25

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                                 Red Rock does not yet know the names

but the law does not require such identification. In re HP Inc., 826 F. App’x at 903.

    V.     The Relative Ease of Access to Sources of Proof Disfavors Transfer

    Defendants claim only

                                                                                        But Apple’s

declarant stated

                                                       Defendants cannot show the

             database is relevant given their declarant’s contrary testimony. See Monterey, *28

(“The discrepancies among the cited evidence are cause for concern”). Every other server

Defendants discuss

    Apple’s interrogatory response only listed names and locations of databases, without

explaining what was stored on those databases or why it is relevant. Ex. 14, 13-16. Mark Rollins

was unable to name any relevant information,




                                                                                        This failure

renders his testimony unreliable. Monterey, *9-10 (“general allegations unsupported by specific

evidence do not tip the scales in a transfer analysis … nothing in the declaration cites to any

specific documents or sources of proof”). Defendants’ exclusive focus on the location of servers

also neglects the “location of document custodians and location where documents are created and




2




                                                  14
     Case 6:21-cv-00346-ADA          Document 116        Filed 04/21/22     Page 23 of 25

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maintained.” In re Google LLC, 2021 U.S. App. LEXIS 33789, *7 (Fed. Cir. Nov. 15, 2021).

Numerous party witnesses and teams in Texas create and maintain sources of proof. Opp., 5-7.

   Defendants argue some of Red Rock’s venue discovery documents have not resided on the

Texas HPC server for “several years.” Reply, 34 n.15. This is misdirection. At least 26,413 pages

from the prior lawsuits were produced from HPC’s server and have been stored there for years.

Supp. Harris ¶4. These are real sources of proof, not a “proxy for choice of counsel.” Red Rock

has cited multiple cases where sources of proof like these were given weight. Opp., 4 n.2.

   VI.     The Local Interest Factor Disfavors Transfer

   Defendants’ cited cases are inapposite, because Red Rock is not relying on Defendants’

“general presence” in Texas. Reply, 35. Rather, Red Rock has proven the relevant design,

development, and manufacturing are in WDTX, not NDCA. Apple concedes

                                                                                      And Apple

deliberately avoided finding out what their Texas witnesses know and what they can access. Ex.

2, 47:4-48:16, 63:10-64:21, 87:2-88:17, 202:2-12, 209:18-210:5.




                                                 15
 Case 6:21-cv-00346-ADA      Document 116      Filed 04/21/22   Page 24 of 25

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DATED: March 31, 2022


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                                        16
    Case 6:21-cv-00346-ADA           Document 116        Filed 04/21/22     Page 25 of 25

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                               CERTIFICATE OF SERVICE

   The undersigned hereby certifies that all counsel of record are being served with a copy of the

foregoing document via the Court’s CM/ECF system per Local Civil Rule CV-5 on March 31,

2022.

                                                           /s/ Alden G. Harris
                                                           Alden G. Harris




                                                 17
